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                 Exhibit 13
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                                                                                             4/6/2022 1:43 PM
                                                                                                Velva L. Price
                                          D-1-GN-22-001610                                      District Clerk
                                                                                               Travis County
                                 CAUSE NO. ______________                                   D-1-GN-22-001610
                                                                                                 Ruben Tamez
 NEIL HESLIN, SCARLETT LEWIS,                  §                  IN THE DISTRICT COURT
 LEONARD POZNER, VERONIQUE                     §
 DE LA ROSA, MARCEL FONTAINE                   §
                                               §
            Plaintiffs                         §
                                               §
 v.                                            §                   TRAVIS COUNTY, TEXAS
                                               §
 ALEX E. JONES, INFOWARS, LLC,                 §
 FREE SPEECH SYSTEMS, LLC,                     §
 PQPR HOLDINGS LIMITED LLC,                    §
 JLJR HOLDINGS, LLC, PLJR                      §
 HOLDINGS, LLC, CAROL JONES,                   §
 DAVID JONES, PQPR HOLDINGS,                   §
 LLC, JLJR HOLDINGS LIMITED,                   §
 LLC, AEJ HOLDINGS, LLC, AEJ                   §
 TRUST 2018                                    §             200TH, DISTRICT COURT
                                               §
            Defendants.                        §                _________ DISTRICT COURT


                           PLAINTIFFS’ ORIGINAL PETITION



                                         Introduction

       1.       After Alex Jones was sued for claiming the massacre at Sandy Hook Elementary

was a hoax, the infamous conspiracy theorist conspired to divert his assets to shell companies

owned by insiders like his parents, his children, and himself. Since being sued, Jones transferred

millions of dollars from his fortune to these insiders—whom he apparently thought were beyond

reach. But the Texas Uniform Fraudulent Transfer Act prohibits defendants from playing shell

games to shield assets from their creditors. And it allows creditors like the Sandy Hook Families

to void fraudulent transfers that defendants like Alex Jones make to their insiders. The Sandy

Hook Families and Fontaine therefore assert TUFTA claims against Jones and his insiders to foil

this scheme.




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                                               Parties
The Sandy Hook Families

       2.      Plaintiff Neil Heslin is an individual who resides in Connecticut.

       3.      Plaintiff Scarlett Lewis is an individual who resides in Connecticut.

       4.      Plaintiff Leonard Pozner is an individual who resides in Florida.

       5.      Plaintiff Veronique De La Rosa is an individual who resides in Florida.

Fontaine

       6.      Plaintiff Marcel Fontaine is an individual who resides in Massachusetts.

The Jones Debtors

       7.      Defendant Alex E. Jones is a resident of Austin, Texas. He hosts radio and web-

based news programing, including “The Alex Jones Show,” and he owns Free Speech Systems,

LLC, which operates the website infowars.com. Jones can be served at his place of business,

InfoWars, 3019 Alvin Devane Blvd., Suite 300-350, Austin, TX 78741.

       8.      Defendant InfoWars, LLC is a Texas limited-liability company with principal

offices located in Austin, Texas. It may be served at the address of its registered agent, Eric

Taube, at 100 Congress Ave., 18th Floor, Austin, TX 78701.

       9.      Defendant Free Speech Systems, LLC is a Texas limited-liability company with

principal offices located in Austin, Texas. It may be served at the address of its registered agent,

Eric Taube, at 100 Congress Ave., 18th Floor, Austin, TX 78701.

       10.     At all times relevant to this petition, these Jones Debtors operated as a joint

venture, joint enterprise, single-business enterprise, or alter ego.




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The Jones Transferees

       11.      Defendant PQPR Holdings Limited LLC is a Nevada limited-liability company. It

may be served at the address of its registered agent, Registered Agents Inc., at 401 Ryland St.,

Suite 200-A, Reno, NV 89502.

       12.      Defendant JLJR Holdings, LLC is a Nevada limited-liability company. It directly

and indirectly owns, operates, and receives income from PQPR Holdings Limited LLC. It may

be served at the address of its registered agent, Registered Agents Inc., at 401 Ryland St., Suite

200-A, Reno, NV 89502.

       13.      Defendant PLJR Holdings, LLC is a Nevada limited-liability company. It directly

and indirectly owns, operates, and receives income from PQPR Holdings Limited LLC. It may

be served at the address of its registered agent, Registered Agents Inc., at 401 Ryland St., Suite

200-A, Reno, NV 89502.

       14.      Defendant Carol Jones is a resident of Austin, Texas. She is Alex Jones’s mother

and directly and indirectly owns, operates, and receives income from PQPR Holdings Limited

LLC. She can be served personally at 3402 Clawson Road, Austin, Texas 78704 or wherever she

can be found.

       15.      Defendant David Jones is a resident of Austin, Texas. He is Alex Jones’s father

and directly and indirectly owns, operates, and receives income from PQPR Holdings Limited

LLC. He can be served personally at 3402 Clawson Road, Austin, Texas 78704 or wherever he

can be found.

       16.      Defendant PQPR Holdings, LLC is an entity that has been previously identified

by the Jones Debtors as a party to transfers or obligations that Plaintiffs contend are fraudulent.

To date, Plaintiffs have found no entity by this name and no registered agent to receive service.

They will amend this pleading accordingly when a registered agent has been ascertained.


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          17.    Defendant JLJR Holdings Limited, LLC is an entity listed as a member of PQPR

Holdings Limited, LLC and PLJR Holdings, LLC. To date, Plaintiffs have found no entity by

this name and no registered agent to receive service. They will amend this pleading accordingly

when a registered agent has been ascertained.

          18.    Defendant AEJ Holdings, LLC is an entity that has been identified previously by

the Jones Debtors as a party to transfers or obligations that Plaintiffs contend are fraudulent. To

date, Plaintiffs have found no entity by this name and no registered agent to receive service.

They will amend this pleading accordingly when a registered agent has been ascertained.

          19.    Defendant AEJ Trust 2018 is an entity that has been identified previously by the

Jones Debtors as a party to transfers or obligations that Plaintiffs contend are fraudulent. To date,

Plaintiffs have found no entity by this name and no registered agent to receive service. They will

amend this pleading accordingly when a registered agent has been ascertained.

          20.    At all times relevant to this petition, the Jones Transferees and Defendant Alex

Jones operated as a joint venture, joint enterprise, single-business enterprise, or alter ego.

                                     Discovery-Control Plan

          21.    Discovery should be conducted under Level 3 case of the Texas Rules of Civil

Procedure.1 Plaintiffs seek monetary relief over $1,000,000.2

                                     Jurisdiction and Venue

          22.    The amount in controversy exceeds the Court’s minimum jurisdictional

requirements.




1
    See Tex. R. Civ. P. 190.
2
  See Tex. R. Civ. P. 47. Plaintiffs may also seek injunctive relief, in which case they may
request expedited discovery. See Tex. R. Civ. P. 680.


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         23.    Venue is proper in Travis County because that’s where certain Defendants resided

when the cause of action accrued and because all or a substantial part of the events or omissions

giving rise to the claims occurred in Travis County.3

                                           Background

         24.    Alex Jones, through his media companies Free Speech Systems and InfoWars,

became a national figure by peddling bizarre conspiracy theories. Followers tune in to hear him

and his guests ramble about unsubstantiated claims—like how the September 11th attacks were

an inside job by the U.S government. They can also hear him tout the various products available

to buy on his InfoWars website. And they can then navigate to that website, where they have a

host of products available for purchase.

         25.    They can buy, for example, bumper stickers echoing the types of conspiracy

theories they hear on Jones’s programming:




                                                                                   4




3
    See Tex. Civ. Prac. & Rem. Code § 15.002.
4
  InfoWars Store, at “Stickers and Decals”, https://www.infowarsstore.com/gear/stickers-and-
decals (last visited April 4, 2022).


                                                5
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       26.     They can even buy various “preparedness” kits ranging from seeds to storable

food to survival gear to nuclear and biological supplies:




                                                                                  5



       27.     The sale of these types of products on the InfoWars website and elsewhere

enabled the Jones Debtors to earn a fortune.

       28.     But after the Jones Debtors aimed their conspiracy theories at Sandy Hook

Elementary—claiming the tragic shooting there was staged—that all changed.




5
 InfoWars Store, at “Preparedness”, https://www.infowarsstore.com/preparedness (last visited
April 4, 2022).


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The Sandy Hook Families and Fontaine sue the Jones Debtors for defamation.

       29.     In April 2018, the Sandy Hook Families and Fontaine sued the Jones Debtors for

defamation, among other claims, based on various lies and conspiracy theories Alex Jones

espoused through his media outlet (the Defamation Cases).6 The claims of the Sandy Hook

Families—parents of children slain at Sandy Hook—stem from conspiracy theories the Jones

Debtors disseminated that the mass shooting was a hoax.7 Similarly, Fontaine’s claims arose

from falsehoods the Jones Debtors spread that he was the shooter responsible for murdering 17

people at a high school in Parkland, Florida.8

       30.     Rather than accept responsibility for propagating these lies, however, the Jones

Debtors continued to deflect the truth. The Jones Debtors first tried to dismiss the Defamation

Cases. But the trial courts denied those attempts in part because the Jones Debtors refused to

cooperate in the cases’ truth-finding phase of discovery. Instead of accepting blame then, the

Jones Debtors appealed the trial courts’ denials of their dismissal motions. Each time, the

appellate court declined the Jones Debtors’ requests to dismiss the cases. The appellate court


6
  Cause No.: D-1-GN-18-001835; Neil Heslin v Alex E. Jones, Infowars, LLC, Free Speech
Systems, LLC and Owen Shroyer; In the 261st Judicial District Court of Travis County, Texas;
Cause No.: D-1-GN-18-001842; Leonard Pozner and Veronique De La Rosa v Alex E. Jones,
Infowars, LLC and Free Speech Systems, LLC; In the 345th Judicial District Court of Travis
County, Texas; Cause No.: D-1-GN-19-004651; Neil Heslin v Alex E. Jones, Infowars, LLC and
Free Speech Systems, LLC; In the 261st Judicial District Court of Travis County, Texas; Cause
No.: D-1-GN-18-006623; Scarlett Lewis v Alex E. Jones, Infowars, LLC and Free Speech
Systems, LLC; In the 98th Judicial District Court of Travis County, Texas; Cause No.: D-1-GN-
18-001605; Marcel Fontaine v Infowars, LLC, Free Speech Systems, LLC and Kit Daniels; In the
459th Judicial District Court of Travis County, Texas.
7
  See e.g., Jones v. Heslin, No. 03-20-00008-CV, 2020 WL 4742834, at *1 (Tex. App.—Austin
Aug. 14, 2020, pet. denied); Jones v. Heslin, No. 03-19-00811-CV, 2020 WL 1452025, at *1
(Tex. App.—Austin March 25, 2020, pet. denied); Jones v. Pozner, No. 03-18-00603-CV, 2019
WL 5700903, at *9 (Tex. App.—Austin Nov. 5, 2019, pet. denied); Jones v. Lewis, No. 03-19-
00423-CV, 2019 WL 5090500, at *4 (Tex. App.—Austin October 11, 2019, pet. denied).
8
 Infowars, LLC v. Fontaine, No. 03-18-00614-CV, 2019 WL 5444400, at *1 (Tex. App.—
Austin Oct. 24, 2019, pet. denied).


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even sanctioned the Jones Debtors for raising a frivolous appeal that misrepresented the

underlying facts and the governing law.9

         31.    Even after the appellate court allowed the Defamation Cases to proceed, the Jones

Debtors continued to obstruct discovery. Their repeated discovery abuses even culminated in the

trial court granting default judgments for the Sandy Hook Families and against the Jones Debtors

on liability in September 2021. The first trial against the Jones Debtors on damages commences

at the end of April 2022. The next will follow soon after. In other words, judgments against the

Jones Debtors are imminent.

During the Defamation Cases, the Jones Debtors doomsday prepped for these eventual
judgments by diverting assets.

         32.    After the Sandy Hook Families and Fontaine filed their Defamation Cases, the

Jones Debtors started diverting their assets. From 2018 to 2021, for example, Alex Jones

personally drew about $18 million from his InfoWars company, Free Speech Systems. These

draws were in addition to his yearly salary, which exceeded $600,000, and taken while Free

Speech Systems operated at a net loss in the millions each of those years.

         33.    Jones apparently drew these $18 million while his company, Free Speech

Systems, was insolvent. Just three months after the last appellate-court decision allowing the

Defamation Cases to proceed, a company named PQPR filed a UCC Financing Statement

claiming a security interest in essentially everything Free Speech Systems owns. The claimed

security interest covers an alleged $54 million debt Free Speech Systems owes to PQPR. The

supposed debt began accruing years earlier as part of an arrangement where Free Speech

Systems sells PQPR’s products on the InfoWars website. Under this alleged arrangement, PQPR

was to be reimbursed for the costs of the products and receive 70% of the sales revenue while

9
    Heslin, 2020 WL 1452025, at *6.


                                                8
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Free Speech Systems retained the other 30%. In practice, however, Free Speech Systems

supposedly kept 100% of the revenue for about seven years and didn’t pay for the goods PQPR

provided—to the point where a $54 million debt had accumulated. All the while, PQPR not only

supplied Free Speech Systems with more products to sell but also paid Free Speech Systems

millions of dollars a year to advertise on the InfoWars website. PQPR still supplies the Jones

Debtors with products to sell and pays for advertising on the website.

       34.     So why would an independent business like PQPR continue to engage in such

questionable transactions?

       35.     Because PQPR is not actually an independent business. It’s an insider of the Jones

Debtors. It is owned and operated directly or indirectly by Jones, his parents, and his children

through an alphabet soup of shell entities like JLJR Holdings Limited LLC; JLJR Holdings,

LLC; PLJR Holdings, LLC; PQPR Holdings, LLC; AEJ Holdings, LLC; and AEJ Trust 2018.

And the income PQPR receives—including from sources like the Jones Debtors—goes to Alex

Jones and these Jones Transferees.

       36.     And after the Defamation Cases began, the Jones Debtors started transferring

large sums of money to the Jones Transferees. These sums include money the Jones Debtors

started regularly transferring from Free Speech Systems to PQPR the same month that the default

judgments were rendered. In fact, the month the default judgments were rendered, Free Speech

Systems started transferring to PQPR between $11,000 per day and $11,000 per week plus 60–

80% of Free Speech Systems’ sales revenue—supposedly just to pay the interest on the alleged

$54 million debt. Free Speech Systems claims these payments are part of a “financial

disentanglement between the two companies[.]” In reality, they’re transfers designed to siphon

off the Jones Debtors’ assets to make them judgment-proof.




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          37.    This fact is only confirmed by the jaw-dropping amount in transfers the Jones

Debtors made during the Defamation Cases. In 2021 alone, the Jones Debtors transferred from

Free Speech Systems tens of millions more than it cost to operate that year. These transfers

started just four months after the last appellate-court decision was issued that allowed the

Defamation Cases to proceed.

                                        Causes of Action

          38.    The Sandy Hook Families and Fontaine assert fraudulent-transfer claims under

the Texas Uniform Fraudulent Transfer Act to void transfers between the Jones Debtors and the

Jones Transferees. Texas enacted TUFTA to prevent debtors from prejudicing creditors by

improperly moving assets beyond their reach.10 Through TUFTA’s statutory scheme, creditors

may seek recourse for fraudulent transfers of assets or property.11 The Sandy Hook Families and

Fontaine are creditors entitled to recourse under TUFTA because the Jones Debtors engaged in

fraudulent transfers and conspired to commit fraudulent transfers.12

Count 1—Fraudulent Transfer with actual intent to hinder, delay, or defraud under §
24.0005(a)(1)

          39.    The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.




10
     Janvey v. Golf Channel, Inc., 487 S.W.3d 560, 566 (Tex. 2016).
11
  Sargeant v. Al Saleh, 512 S.W.3d 399, 411–12 (Tex. App.—Corpus Chrisi-Edinburg 2016, no
pet.) (citing cases).
12
  See Tex. Bus. & Com. Code § 24.002 (defining “creditor” as a person who has a “claim” and
“claim” as a right to payment including whether or not reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, or undisputed); see also Bank of
Am., N.A. v. Fulcrum Enterprises, LLC, 20 F. Supp. 3d 594, 601 (S.D. Tex. 2014) (explaining
that a person my bring a TUFTA action as a creditor of the transferor by virtue of a legal action,
pending and unliquidated at the time of transfer).


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            40.   The Jones Debtors are liable for engaging in fraudulent transfers as to present and

future creditors under § 24.0005(a)(1).13 A transfer made or obligation incurred by a debtor is

fraudulent as to a creditor under this section if the debtor made the transfer or incurred the

obligation with the actual intent to hinder, delay, or defraud any creditor of the debtor.14 Such

transfers or obligations are fraudulent whether the creditor’s claim arose before or within a

reasonable time after the transfers were made or obligations incurred.15

            41.   The Jones Debtors engaged in fraudulent transfers under this standard. During the

Defamation Cases—while the Sandy Hook Families and Fontaine were creditors—the Jones

Debtors transferred millions of dollars from Free Speech Systems for reasons unrelated to Free

Speech Systems’ business operations. In 2021 alone, they transferred from Free Speech Systems

tens of millions more than it cost to operate that year. These transfers started just four months

after the last appellate-court decision was issued that allowed the Defamation Cases to proceed.

            42.   Transfers by the Jones Debtors while the Defamation Cases were pending also

include payments to insiders, like Jones himself. From 2018 to 2021, for example, Jones

apparently drew $18 million from Free Speech Systems, even though it was insolvent and

operating at a net loss each of those years. These draws were in addition to (and about 30 times

greater than) Jones’s yearly salary.

            43.   And since the Defamation Cases began, the Jones Debtors also transferred large

sums to other insiders, like the Jones Transferees. These sums include money the Jones Debtors


13
   Tex. Bus. & Com. Code § 24.005(a)(1) (“(a) A transfer made or obligation incurred by a
debtor is fraudulent as to a creditor, whether the creditor’s claim arose before or within a
reasonable time after the transfer was made or the obligation was incurred, if the debtor made the
transfer or incurred the obligation: (1) with actual intent to hinder, delay, or defraud any creditor
of the debtor;”).
14
     Id.
15
     Id.


                                                  11
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started regularly transferring from Free Speech Systems to insider PQPR the same month that

default judgments in the Defamation Cases were rendered. Specifically, PQPR started receiving

as much as $11,000 per day plus 60–80% of Free Speech Systems’ sales revenue. These

payments are allegedly to pay just the interest on the questionable $54 million obligation to

PQPR the Jones Debtors decided that Free Speech incurred just three months after the appellate

court allowed the Defamation Cases to proceed. All the while the Jones Debtors retained

possession and control of these money transfers and obligations, as the money PQPR receives

from Free Speech Systems goes directly and indirectly to insiders like Jones, his parents, and his

children through the shell entities included as Jones Transferees.

       44.     These transfers and obligations that the Jones Debtors made and incurred were

done with the actual intent to hinder, delay, or defraud their creditors—including the Sandy

Hook Families and Fontaine. That truth becomes especially glaring considering the badges of

fraud surrounding these transfers and obligations.16 Those badges include, for example, that the

transfers and obligations were made to insiders who retained possession and control over the

property; the transfers and obligations were concealed and made while the Defamation Cases

were pending and while the Jones Debtors were insolvent; and that past and future transfers to

PQPR will eliminate substantially all of the Jones Debtors’ assets—as these essential assets paid


16
   Tex. Bus. & Com. Code § 24.005(b) (“(b) In determining actual intent under Subsection (a)(1)
of this section, consideration may be given, among other factors, to whether: (1) the transfer or
obligation was to an insider; (2) the debtor retained possession or control of the property
transferred after the transfer; (3) the transfer or obligation was concealed; (4) before the transfer
was made or obligation was incurred, the debtor had been sued or threatened with suit; (5) the
transfer was of substantially all the debtor’s assets; (6) the debtor absconded; (7) the debtor
removed or concealed assets; (8) the value of the consideration received by the debtor was
reasonably equivalent to the value of the asset transferred or the amount of the obligation
incurred; (9) the debtor was insolvent or became insolvent shortly after the transfer was made or
the obligation was incurred; (10) the transfer occurred shortly before or shortly after a substantial
debt was incurred; and (11) the debtor transferred the essential assets of the business to a lienor
who transferred the assets to an insider of the debtor.”).


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to insider and supposed secured creditor PQPR will be subsequently transferred to insiders like

Jones, his parents, and his children through the Jones Transferees.

         45.    The Jones Debtors are thus liable under § 24.0005(a)(1) and the Sandy Hook

Families and Fontaine seek the remedies available under TUFTA against not only the Jones

Debtors as transferors but also Jones and the Jones Transferees as transferees. Among the

remedies the Sandy Hook Families and Fontaine seek is to void the transfers made by the Jones

Debtors to Jones and the Jones Transferees or to recover from Jones and the Jones Transferees

the value of the transfers they received from the Jones Debtors.17

Count 2—Fraudulent Transfer without receiving reasonably equivalent value under §
24.0005(a)(2)

         46.    The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.

         47.    The Jones Debtors are liable for engaging in fraudulent transfers as to present and

future creditors under § 24.0005(a)(2).18 A transfer made or obligation incurred by a debtor is

fraudulent as to a creditor under this section if the debtor made the transfer or incurred the

obligation without receiving a reasonably equivalent value in exchange for the transfer or

obligation, and either (1) the debtor was engaged or was about to engage in a business or a

transaction for which the remaining assets of the debtor were unreasonably small in relation to


17
     Tex. Bus. & Com. Code § 24.008.
18
   Tex. Bus. & Com. Code § 24.005(a)(2) “(a) A transfer made or obligation incurred by a debtor
is fraudulent as to a creditor, whether the creditor’s claim arose before or within a reasonable
time after the transfer was made or the obligation was incurred, if the debtor made the transfer or
incurred the obligation: . . . (2) without receiving a reasonably equivalent value in exchange for
the transfer or obligation, and the debtor (A) was engaged or was about to engage in a business
or a transaction for which the remaining assets of the debtor were unreasonably small in relation
to the business or the transaction; or (B) intended to incur, or believed or reasonably should have
believed that the debtor would incur, debts beyond the debtor’s ability to pay as they became
due.”).


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the business or transaction; or (2) the debtor intended to incur, or believed or reasonably should

have believed that the debtor would incur, debts beyond the debtor’s ability to pay as they

became due.19 Such transfers or obligations are fraudulent whether the creditor’s claim arose

before or within a reasonable time after the transfers were made or obligations incurred.20

            48.   Under these standards the Jones Debtors committed fraudulent transfers as to the

Sandy Hook Families and Fontaine. While the Defamation Cases were pending—that is, while

the Sandy Hook Families and Fontaine were creditors—the Jones Debtors transferred millions of

dollars from Free Speech Systems without receiving reasonably equivalent value in exchange,

and while the Jones Debtors’ assets were unreasonably small. Moreover, the Jones Debtors

incurred millions of dollars in obligations they intended or reasonably should have believed they

would be unable to pay as they became due.

            49.   For instance, in 2021 the Jones Debtors transferred from Free Speech Systems

tens of millions more than it cost to operate the company. These transfers were unrelated to

operating the business and thus weren’t in exchange for reasonably equivalent value. And these

transfers far exceeded Free Speech Systems’ assets—and any of the Jones Debtors’ for that

matter—which were unreasonably small compared to the millions transferred away.

            50.   And from 2018 to 2021, the Jones Debtors also transferred from Free Speech

Systems to Jones about $18 million on top of the already substantial salary he received. Of

course these $18 million in draws weren’t for reasonably equivalent value, especially given that

Free Speech Systems was operating at a loss at that time and allegedly had other substantial

debts to insider PQPR it hadn’t been paying for years. And these $18 million in transfers




19
     Id.
20
     Id.


                                                 14
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virtually eliminated Free Speech Systems’ remaining assets, which were already unreasonably

small compared to the $18 million that had been transferred.

       51.     And around the time that default judgments were rendered against the Jones

Debtors in the Defamation Cases, the Jones Debtors incurred an obligation to insider PQPR to

pay only the interest on the supposed $54 million debt to PQPR that Free Speech Systems hadn’t

been paying as it became due. Under this obligation to pay only the interest, Free Speech

Systems agreed to pay as much as $11,000 per day plus 60–80% of its sales revenue. Incurring

such a hefty obligation to cover only the interest on an alleged debt to an insider is not for

reasonably equivalent value. And the Jones Debtors intended to incur or believed or reasonably

should have believed that Free Speech Systems was incurring, debts beyond its ability to pay as

they became due. After all, given that 100% of Free Speech Systems’ sales revenue was already

too little to cover its operating expenditures, counting on only 20–40% of sales revenue to cover

operating expenditures would be quixotic. The Jones Debtors knew or should have known their

new obligation to insider PQPR—which is directly and indirectly run by and benefits Jones, his

parents, and his children through the Jones Transferees—is beyond their ability to pay.

       52.     This of course rests against the backdrop of the dubious $54 million obligation

Free Speech Systems now claims it owes PQPR. Free Speech Systems apparently did not

recognize any obligation to PQPR before the Defamation Cases. Only after the appellate court

allowed the cases to proceed, did any evidence of an obligation by Free Speech Systems to

PQPR surface. That Free Speech Systems needlessly agreed to take on a $54 million obligation

to an insider is not an obligation in exchange for reasonably equivalent value. And it’s an

obligation the Jones Debtors apparently intended to incur or believed or reasonably should have

believed they would incur and would be beyond their ability to pay as they became due.




                                               15
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            53.     The Jones Debtors are thus liable under § 24.0005(a)(2) and the Sandy Hook

Families and Fontaine seek the remedies available under TUFTA against not only the Jones

Debtors as transferors but also Jones and the Jones Transferees as transferees. Among the

remedies they seek is to void the transfers made by the Jones Debtors to Jones and the Jones

Transferees or to recover from Jones and the Jones Transferees the value of the transfers they

received from the Jones Debtors.21

Count 3—Fraudulent Transfer without receiving reasonably equivalent value under §
24.0006(a)

            54.   The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.

            55.   The Jones Debtors are liable for engaging in fraudulent transfers as to present

creditors under § 24.0006(a).22 A transfer made or obligation incurred by a debtor is fraudulent

as to a creditor whose claim arose before the transfer was made or the obligation was incurred if

the debtor made the transfer or incurred the obligation without receiving a reasonably equivalent

value in exchange for the transfer or obligation and the debtor was insolvent at that time or the

debtor became insolvent as a result of the transfer or obligation.23

            56.   The Jones Debtors also committed fraudulent transfers under this standard. While

the Sandy Hook Families and Fontaine were creditors and while the Jones Debtors were

insolvent, the Jones Debtors transferred millions of dollars without receiving reasonably



21
     Tex. Bus. & Com. Code § 24.008.
22
   Tex. Bus. & Com. Code § 24.006(a) (“(a) A transfer made or obligation incurred by a debtor is
fraudulent as to a creditor whose claim arose before the transfer was made or the obligation was
incurred if the debtor made the transfer or incurred the obligation without receiving a reasonably
equivalent value in exchange for the transfer or obligation and the debtor was insolvent at that
time or the debtor became insolvent as a result of the transfer or obligation.”).
23
     Id.


                                                 16
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equivalent value. These transfers include the tens of millions transferred from Free Speech

Systems in 2021 that were unrelated to its operation. They also include $18 million that Jones

drew from his business, Free Speech Systems. And they include the Jones Debtors’ payments on

just the interest on an alleged $54 million debt Free Speech Systems owes insider PQPR—

payments that include as much as $11,000 per day plus 60–80% of Free Speech Systems’ sales

revenue. As explained in prior sections, none of these transfers and obligations were in exchange

for reasonably equivalent value. And all were apparently made and incurred while the Jones

Debtors were insolvent—or they became insolvent as a result of these transfers and obligations.

         57.    The Jones Debtors are thus liable under § 24.0006(a) and the Sandy Hook

Families and Fontaine seek the remedies available under TUFTA against not only the Jones

Debtors as transferors but also Jones and the Jones Transferees as transferees. Among the

remedies they seek is to void the transfers made by the Jones Debtors to Jones and the Jones

Transferees or to recover from Jones and the Jones Transferees the value of the transfers they

received from the Jones Debtors.24

Count 4—Fraudulent Transfer without receiving reasonably equivalent value under §
24.0006(b)

         58.    The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.

         59.    The Jones Debtors are liable for engaging in fraudulent transfers as to present

creditors under § 24.0006(b).25 A transfer made by a debtor is fraudulent as to a creditor whose

claim arose before the transfer was made if the transfer was made to an insider for an antecedent

24
     Tex. Bus. & Com. Code § 24.008.
25
   Tex. Bus. & Com. Code § 24.006(b) (“(b) A transfer made by a debtor is fraudulent as to a
creditor whose claim arose before the transfer was made if the transfer was made to an insider
for an antecedent debt, the debtor was insolvent at that time, and the insider had reasonable cause
to believe that the debtor was insolvent.”).


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debt, the debtor was insolvent at that time, and the insider had reasonable cause to believe that

the debtor was insolvent.26

            60.   The Jones Debtors engaged in fraudulent transfers under this standard. After the

Sandy Hook Families’ and Fontaine’s claims against the Jones Debtors arose, the Jones Debtors

started repaying an alleged debt to insider PQPR, which is owned directly and indirectly by

Jones, his parents, and his children through various entities—the Jones Transferees. Moreover,

income that PQPR receives from Free Speech Systems, for example, is directly and indirectly

paid to Jones, his parents, and his children though the Jones Transferees. The Jones Debtors

made these transfers to pay off this antecedent debt to insider PQPR directly (and Jones and the

Jones Transferees indirectly) while they were insolvent. And the Jones Transferees, including

PQPR, had reasonable cause to believe that the Jones Debtors were insolvent at the time. After

all, the Jones Debtors allegedly failed to the pay the supposed debt to PQPR for years to the

point where the debt reached $54 million and exceeded the Jones Debtors’ assets.

            61.   And to the extent that the $18 million Jones drew from Free Speech Systems

between 2018 and 2021 were payments for antecedent debts, such payments are also fraudulent

transfers under this section. These transfers were made after the Sandy Hook Families’ and

Fontaine’s claims against the Jones Debtors arose. As Free Speech Systems’ sole owner, Jones

was its insider. And as its sole owner, Jones had reasonable cause to believe that Free Speech

Systems was insolvent—and in fact was insolvent—when these transfers to him were made.

            62.   The Jones Debtors are thus liable under § 24.0006(b) and the Sandy Hook

Families and Fontaine seek the remedies available under TUFTA against not only the Jones

Debtors as transferors but also Jones and the Jones Transferees as transferees. Among the

remedies they seek is to void the transfers made by the Jones Debtors to Jones and the Jones

26
     Id.


                                                 18
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Transferees or to recover from Jones and the Jones Transferees the value of the transfers they

received from the Jones Debtors.27

Count 5—Conspiracy to commit fraudulent transfers

          63.    The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.

          64.    The Jones Debtors and the Jones Transferees are liable for conspiracy to commit

fraudulent transfers.28 The elements of a civil conspiracy are: (1) two or more persons; (2) an end

to be accomplished; (3) meeting of the minds on the end or course of action; (4) one or more

overt unlawful acts; and (5) proximately resulting in injury.29

          65.    Here, the Jones Debtors and the Jones Transferees conspired to commit fraudulent

transfers. As the prior paragraphs establish, the Jones Debtors and the Jones Transferees

conspired to siphon the Jones Debtors’ assets away to avoid paying the Sandy Hook Families

and Fontaine in the Defamation Cases. The Jones Debtors and the Jones Transferees then

proceeded with the course of action of transferring millions of dollars in assets away from the

Jones Debtors and having the Jones Debtors incur millions of dollars in obligations to its insider

Jones Transferees, who weren’t sued in the Defamation Cases. These overt acts are unlawful

fraudulent transfers under TUFTA. And they proximately resulted in injury to the Sandy Hook

Families and Fontaine. Diverting assets away from the Jones Debtors to the Jones Transferees

impairs the Sandy Hook Families’ and Fontaine’s ability to collect on their judgments.




27
     Tex. Bus. & Com. Code § 24.008.
28
   In re Northstar Offshore Grp., LLC, 616 B.R. 695, 743 (Bankr. S.D. Tex. 2020) (citing
Ramirez v. Rodriguez (In re Ramirez), 413 B.R. 621, 629 (Bankr. S.D. Tex. 2009) and Biliouris
v. Sundance Res., Inc., 559 F. Supp. 2d 733, 740 (N.D. Tex. 2008)).
29
     Id. at 743–44.


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                                      Conditions Precedent

          66.    All conditions precedent to the Sandy Hook Families’ and Fontaine’s claims for

relief have been performed or have occurred or have been waived.

                                  Attorney’s Fees and Interest

          67.    The Sandy Hook Families and Fontaine seek costs and attorney’s fees under §

24.013 of the Texas Uniform Fraudulent Transfer Act.30

          68.    The Sandy Hook Families and Fontaine further seek pre- and post-judgment

interest on the amount of any judgment as allowed by law.

                                      Request for Disclosure

          69.    Defendants are requested to disclose, within 50 days of the service of this request,

the information or material described in Texas Rule of Civil Procedure 194.2.

                                           Trial by Jury

          70.    The Sandy Hook Families and Fontaine respectfully request a trial by jury.

                                          Notice of Intent

          71.    Under Rule 193.7, Plaintiffs intend to use any documents produced in

response to written discovery requests at trial and in any pretrial matters in the litigation.31

                                               Prayer

          For these reasons, Plaintiffs respectfully request that Defendants be cited to appear and

answer and that judgment be awarded to Plaintiffs for the following:

          1) avoidance of transfers or obligations to the extent necessary to satisfy Plaintiffs’
             claims;


30
     Tex. Bus. & Com. Code § 24.013.
31
     Tex. R. Civ. P. 193.7.


                                                  20
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       2) an attachment or any other provisional remedy against the assets transferred or other
          property of the transferee in accordance with the applicable Texas Rules of Civil
          Procedure and the Civil Practice and Remedies Code relating to ancillary
          proceedings;

       3) an injunction—including temporary and permanent injunctive relief—against further
          disposition by the debtors or transferees, or both, of the assets transferred or of other
          property;

       4) an appointment of a receiver to take charge of the assets transferred or of other
          property of the transferees;

       5) to levy execution on assets transferred or their proceeds;

       6) actual damages, including direct, indirect, special, incidental, and consequential
          damages;

       7) exemplary damages;

       8) costs and reasonably attorney’s fees as are equitable and just;

       9) pre- and post-judgment interest;

       10) any other relief the circumstances may require.

Dated: April 6, 2022

                                             Respectfully submitted


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